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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

 CELESTINE ANYANKA, et al.                    §
           Plaintiffs,                        §
                                              §
 V.                                           §         No. 3:24-CV-2267-L-BW
                                              §
 CAPITAL FUND REIT, LLC,                      §
           Defendant.                         §

            FINDINGS, CONCLUSIONS, AND RECOMMENDATION
               OF THE UNITED STATES MAGISTRATE JUDGE

        Before the Court is Defendant Capital REIT LLC’s Motion for Summary

 Judgment. (Dkt. No. 4.) Plaintiffs have not responded to the motion. For the

 reasons that follow, the undersigned recommends that the District Judge grant the

 motion and dismiss Plaintiffs’ claims with prejudice.

                                   I. BACKGROUND

 A.     Procedural Background.

        Plaintiffs Celestine Anyanka and Veronica Anyanka, represented by counsel,

 filed this action against Defendant Capital Fund REIT, LLC in the 162nd District

 Court of Dallas County, Texas on August 29, 2024, alleging that they own property

 that is under threat of unlawful foreclosure and sale by Defendant. (Dkt. No. 1-3 at

 6-9 (“Compl.”).) 1 Plaintiffs advance four causes of action and seek injunctive relief.

 (See Dkt. No. 1-3 at 6-15.) In their first cause of action, Plaintiffs allege that


        1
         The Court cites the Complaint by page numbers assigned by the ECF system and
 displayed at top of each page.


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 Defendant violated Texas Property Code § 51.002 by failing to send Plaintiffs notice

 of acceleration of the loan because, “to the best of Plaintiff’s knowledge and

 memory, no such notice was sent.” (Id. at 12.) Based on the alleged failure to send

 notice, Plaintiffs request declaratory relief that Defendant is not entitled to

 foreclosure. (Id.) In their second cause of action, Plaintiffs allege that Defendant

 violated the Truth in Lending Act, 12 U.S.C. § 2605, by failing to send periodic

 account statements on the debt. (Id.) In their third claim, Plaintiffs aver that

 Defendant violated Texas Property Code § 51.002(b)(3) by failing to give notice of

 acceleration to Plaintiff Celestine Anyanka’s wife, Plaintiff Veronica Anyanka. (Id.

 at 13-14.) In their fourth claim, Plaintiffs allege breach of contract based on

 assertions that Defendant failed to properly account for or apply Plaintiffs’ payments

 as provided in the agreement. (Id. at 14-15.)

        Defendant removed this action on September 4, 2024, (see Dkt. No. 1), and,

 on September 29, filed a Motion for Summary Judgment, (Dkt. No. 4). Defendant

 also filed a brief in support of its summary judgment motion and an appendix of

 evidence. (See Dkt. Nos. 5 (“Br.”), 6 (“App.”). 2) Plaintiffs have not responded to the

 summary judgment motion.

        2
         Defendant’s appendix does not comply with N.D. Tex. L.R. 56.6(b)(3)’s
 requirement that each page “must be numbered sequentially[.]” Although the undersigned
 does not strike the appendix for failure to comply with local rules, see Streat v. Hammond,
 No. 3:07-CV-1882-P, 2009 WL 10678838, at *1 n.1 (N.D. Tex. Oct. 26, 2009), it points out
 the noncompliance to emphasize the importance of compliance and encourage counsel to
 adhere to this rule in the future. The local rule’s requirement “streamlines the resolution of
 motions by making it easier for the court to locate materials in appendices that are relied on
 by the parties.” State Farm Life Ins. Co. v. Bryant, No. 3:18-CV-1628-L, 2019 WL 8938266, at


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       On November 7, 2024, Defendant filed a suggestion of bankruptcy advising

 that Plaintiff Celestine Anyanka had filed Case No. 24-33586 in the U.S. Bankruptcy

 Court for the Northern District of Texas. (Dkt. No. 8.) The Court ordered the

 parties to submit briefs concerning whether the automatic stay in 11 U.S.C. § 362

 affects these proceedings. (Dkt. No. 10.) Defendant filed its response stating that the

 automatic stay does not interfere with the procession of this case, which is comprised

 only of claims prosecuted by the debtor in bankruptcy. (See Dkt. No. 11.) Plaintiffs

 have not filed a brief despite having twice been ordered to do so and therefore have

 not disputed that this case may proceed. (See Dkt. Nos. 10, 12.) The undersigned

 concludes that the bankruptcy proceeding does not preclude the Court from taking

 action in this case. See Jorrie v. Bank of New York Mellon Tr. Co., N.A., 740 F. App’x

 809, 812 (5th Cir. 2018) (holding plaintiff’s bankruptcy filing did not forestall the

 case because “11 U.S.C. § 362(a)’s automatic stay applies only to judicial

 proceedings that are ‘against the debtor’”).

       This case has been referred to the undersigned United States magistrate judge

 for pretrial management, including for findings, conclusions, and a recommendation

 for disposition of claim-dispositive motions. (See Dkt. No. 2.)




 *6 n.10 (N.D. Tex. May 16, 2019). The undersigned pinpoint cites Defendant’s appendix as
 “App. [##],” with ## corresponding to the page number assigned by the ECF filing system
 and displayed that the top of each page.


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 B.    Undisputed Facts. 3

       On September 19, 2022, Plaintiff Celestine Anyanka obtained a loan for

 $352,000 to purchase a property at 3944 and 3946 Queens Court in Garland, Texas.

 (App. 10, 15, 18, 28.) The promissory note and deed of trust both state that Mr.

 Anyanka made this purchase as “a married man as his sole and separate property.”

 (App. 10, 17.) The terms of the promissory note provide that Mr. Anyanka would

 make monthly interest-only payments in an amount of $3,077.07 and identified a

 maturity date—when all interest and principal would be due—on September 1, 2023.

 (App. 10.) The note listed nonpayment of any installment payment as one of several

 acts of default and provided that, upon default, the entire sum of principal and

 interest would become immediately due and payable. (See App. 11-13.) In signing

 the note, Mr. Anyanka also certified that the loan was “FOR BUSINESS AND

 COMMERCIAL PURPOSES” and that its proceeds “WILL NOT BE USED

 PRIMARILY FOR PERSONAL, FAMILY, HOUSEHOLD OR

 AGRICULTURAL PURPOSES.” (App. 15.)

       The deed of trust explicitly provided that it was not a residential mortgage

 loan under 15 U.S.C. § 1602 and was for “non-occupancy only.” (App. 20.) It

 further provided that Mr. Anyanka and his “agents, shareholders, members, or



       3
          As noted, Plaintiffs have not filed a response to Defendant’s motion for summary
 judgment and have presented no evidence. The undersigned recounts the facts presented by
 Defendant in its appendix, but in assessing the motion for summary judgment it considers
 the facts in the light most favorable to the non-moving party, that is, Plaintiffs.


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 managers shall not occupy this home for the purposes of a primary residence at any

 time” and that such occupancy would create a default. (App. 20.) The deed of trust

 allowed the lender, upon buyer’s default, to accelerate the amount owed and allowed

 foreclosure on the property “in accordance with Chapter 51 of the Texas Property

 Code[.]” (App. 22.) The original lender subsequently assigned the deed of trust to

 Defendant Capital Fund REIT, LLC, the defendant in this action. (App. 30.)

       In October 2023, a notice of default was sent to Mr. Anyanka advising him

 that a payment was not made for 30 days or more and that the lender reserved its

 right to initiate the foreclosure process. (App. 33.) It encouraged Mr. Anyanka to

 contact the lender and advised that payments must be made within 10 calendar days

 to halt the foreclosure process. (App. 33.) On the same day, Mr. Anyanka was sent

 a notice of the loan’s maturity and a demand for full payment. (App. 35.) On July

 30, 2024, a foreclosure notice letter was mailed to Mr. Anyanka. (App. 42.)

                            II. LEGAL STANDARDS

       Summary judgment is proper when “the pleadings, the discovery and

 disclosure materials on file, and any affidavits show that there is no genuine issue as

 to any material fact and that the movant is entitled to judgment as a matter of law.”

 Fed. R. Civ. P. 56(c)(2). A factual “issue is material if its resolution could affect the

 outcome of the action.” Weeks Marine, Inc. v. Fireman’s Fund Ins. Co., 340 F.3d 233,

 235 (5th Cir. 2003). “A factual dispute is ‘genuine,’ if the evidence is such that a




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 reasonable [trier of fact] could return a verdict for the nonmoving party.” Crowe v.

 Henry, 115 F.3d 294, 296 (5th Cir. 1997).

        A party seeking summary judgment bears the initial burden of showing the

 absence of a genuine issue for trial. Duffy v. Leading Edge Prods., Inc., 44 F.3d 308,

 312 (5th Cir. 1995) (citation omitted). The movant’s burden can be satisfied by

 demonstrating that there is an absence of evidence to support the nonmoving party’s

 case, which the nonmovant bears the burden of proving at trial. Celotex Corp. v.

 Catrett, 477 U.S. 317, 323 (1986). Once the movant meets its initial burden, the

 nonmovant must show that summary judgment is not proper. Duckett v. City of Cedar

 Park, Tex., 950 F.2d 272, 276 (5th Cir. 1992) (citation omitted). The parties may

 satisfy their respective burdens “by tendering depositions, affidavits, and other

 competent evidence.” Topalian v. Ehrman, 954 F.2d 1125, 1131 (5th Cir. 1992)

 (citing Fed. R. Civ. P. 56(e); Int'l Shortstop, Inc. v. Rally's, Inc., 939 F.2d 1257, 1263

 (5th Cir. 1991)).

        The party opposing the summary judgment motion must identify specific

 evidence in the record and state the precise manner in which that evidence supports

 the party’s claim. Esquivel v. McCarthy, No. 3:15-CV-1326-L, 2016 WL 6093327, at

 *2 (N.D. Tex. Oct. 18, 2016) (citing Ragas v. Tennessee Gas Pipeline Co., 136 F.3d 455,

 458 (5th Cir. 1998)). “Rule 56 does not impose a duty on the court to ‘sift through

 the record in search of evidence’ to support the nonmovant's opposition to the

 motion for summary judgment.” Id. (citing Ragas, 136 F.3d at 458; Skotak v. Tenneco



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 Resins, Inc., 953 F.2d 909, 915–16 & n.7 (5th Cir. 1992)). All evidence must be

 viewed in the light most favorable to the party opposing the summary-judgment

 motion. Rosado v. Deters, 5 F.3d 119, 123 (5th Cir. 1993) (citing Reid v. State Farm

 Mut. Auto. Ins. Co., 784 F.2d 577, 578 (5th Cir. 1986)).

       When a nonmoving party does not file any response to a motion for summary

 judgment, the “failure to respond does not permit the court to enter a ‘default’

 summary judgment.” Boyd v. Fam. Dollar Stores of Texas, LLC, No. 3:22-CV-1368-D,

 2023 WL 4141052, at *1 (N.D. Tex. June 22, 2023). But the Court is permitted to

 accept the moving party’s evidence as undisputed. See Tutton v. Garland Indep. Sch.

 Dist., 733 F. Supp. 1113, 1117 (N.D. Tex. 1990). “A summary judgment nonmovant

 who does not respond to the motion is relegated to [his] unsworn pleadings, which

 do not constitute summary judgment evidence.” Bookman v. Shubzda, 945 F. Supp.

 999, 1002 (N.D. Tex. 1996) (citing Solo Serve Corp. v. Westowne Assocs., 929 F.2d 160,

 165 (5th Cir. 1991)).

       “[A] court may grant an unopposed summary judgment motion if the

 undisputed facts show that the movant is entitled to judgment as a matter of

 law.” Bryan v. Cano, No. 22-50035, 2022 WL 16756388, at *4 (5th Cir. Nov. 8,

 2022) (cleaned up); accord Bustos v. Martini Club Inc., 599 F.3d 458, 468–69 (5th Cir.

 2010) (although “a district court may not grant a motion for summary judgment

 merely because it is unopposed,” “[t]he defendants submitted competent summary

 judgment evidence showing that there were no genuine issues of fact for trial,” and



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 the plaintiff “did not respond to the motion for summary judgment in the district

 court and therefore failed to carry his burden of showing that material factual issues

 existed” and so “cannot now assert that the district court’s reliance on defendants’

 uncontested evidence was improper” (cleaned up)); Williams v. Sake Hibachi Sushi &

 Bar, Inc., No. 3:18-CV-0517-D, 2020 WL 3317096, at *6 (N.D. Tex. June 18, 2020).

                                     III. ANALYSIS

        Defendant moves for summary judgment on the basis that statutory provisions

 invoked by Plaintiffs that protect the borrower in a residential mortgage do not apply

 to the commercial loan that is the subject of this litigation. (See Dkt. No. 4 at 1.)

 Defendant also argues that Plaintiffs’ claims under the Texas Property Code are

 subject to dismissal because the statutory provisions upon which Plaintiffs rely do

 not provide for a private cause of action based on the alleged violations. (See id. at

 2.) Defendant advances additional grounds for summary judgment in the alternative

 and contends that Plaintiffs’ request for injunctive relief should be denied because

 their substantive claims fail.

 A.     Plaintiffs’ claim for violations of the Texas Property Code fail because the
        cited statutory provisions do not apply to a commercial loan.

        Defendant moves for summary judgment on Plaintiffs’ claims for violations of

 the Texas Property Code pertaining to the alleged failure to provide Plaintiffs notice

 of default and acceleration of the loan. (Br. at 8.) Relying on undisputed evidence

 that the loan at issue is a commercial loan, Defendant contends that provisions of

 Texas Property Code § 51.002(d) upon which Plaintiffs rely do not apply to this loan.


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        Section 51.002(d) of the Texas Property Code requires a mortgage servicer to

 provide certain notice and a 20-day period within which to cure when “a debtor in

 default under a deed of trust or other contract lien on real property used as the

 debtor’s residence[.]” Tex. Prop. Code § 51.002(d). The provisions of Section

 51.002(d), however, do not apply where the property at issue is not the debtor’s

 residence, see Bethel Apostolic Ministries v. Cap. Fund I, LLC, No. 3:22-CV-2265-E-BH,

 2022 WL 18859315, at *2 (N.D. Tex. Dec. 5, 2022) (citing Parker v. Frost Nat’l Bank of

 San Antonio, 852 S.W.2d 741, 755-45 (Tex. App.—Austin 1993, writ dism’d by agr.)),

 accepted 2023 WL 2699989 (N.D. Tex. Mar. 29, 2023). The undisputed evidence

 establishes that the parties agreed the debt that is the subject of this lawsuit was for

 business and commercial purposes, was “not a residential mortgage loan,” and was

 “for non-occupancy only.” (Dkt. No. 6 at 15, 20.) There is no evidence that the

 property is Plaintiffs’ residence. Plaintiff Mr. Anyanka was sent a notice of default

 and, on October 13, 2023, was sent a 10-day demand notice advising him of loan

 maturity. (Dkt. No. 6 at 33, 35.)

        In addition to the inapplicability of § 51.002(d) to the loan at issue, Plaintiff

 Veronica Anyanka also was not entitled to notice under that provision because she

 was not a party to the Note and, therefore, is not a debtor under the statute.

 Defendant’s duty to notify “extend[ed] to the parties named on the requisite

 documents as the debtors, and not to other parties, known or unknown.” See

 Robinson v. Wells Fargo Bank, NA, No. 3:20-CV-0601-B, 2021 WL 3912858, at *3



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  (N.D. Tex. Sept. 1, 2021) (quoting Rodriguez v. Ocwen Loan Servicing, LLC, 306 F.

  App’x 854, 856 (5th Cir. 2009) (emphasis omitted)). Veronica Anyanka therefore

  had no right to notice under § 51.022(d) if she was not a debtor, and the undisputed

  summary judgment evidence establishes that she was not a debtor.

  B.    Plaintiffs’ claim for violations of the Truth in Lending Act fail because the
        summary judgment evidence establishes that Plaintiffs did not receive a
        consumer loan.

        Plaintiffs allege in the complaint that Defendant violated the Truth in Lending

  Act (“TILA”) by failing to send Plaintiffs periodic statements. (See Dkt. No. 1-3 at

  12.) Defendant moves for summary judgment on this claim on the basis that

  Plaintiffs have no TILA claim because the statute applies only to consumer loans,

  which the instant loan is not. (Br. at 10-11.)

        Defendant contends that the duty to provide periodic statements upon which

  Plaintiffs ground their claim is found at 12 C.F.R. § 1026.41, which compels a

  subject mortgage servicer to provide regular periodic statements to the consumer that

  include information such as the amount due, any late payment fee, monthly payment

  amount, and date of next payment. See id. § 1026.41(d).

        By its express terms, 12 C.F.R. § 1026.41(a)(1)’s scope is limited to a “closed-

  end consumer credit transaction secured by a dwelling.” The TILA “exempts

  ‘transactions involving extensions of credit primarily for business, commercial, or

  agricultural purposes.’” Riviere v. Banner Chevrolet, Inc., 184 F.3d 457, 461-62 (5th

  Cir. 1999) (quoting 15 U.S.C. § 1603(1)). Additionally, it defines a “consumer”



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  credit transaction as one involving a natural person primarily for “personal, family,

  or household purposes.” Id. at 462 (quoting 15 U.S.C. § 1602(i)).

         The undisputed summary judgment evidence demonstrates that the loan that

  is the subject of this litigation was not a consumer loan. In the Note, Celestine

  Anyanka certified that he was incurring the debt for business and commercial

  purposes, and he specifically certified that the loan proceeds would not be used

  primarily for personal, family, household, or agricultural purposes. (App. 15.)

  Moreover, he acknowledged that he and his affiliates would not occupy the property.

  (App. 20.) Plaintiffs have adduced no facts that could allow a fact finder to

  determine that the loan was a consumer transaction to which the TILA would apply,

  and Defendant therefore is entitled to summary judgment on Plaintiffs’ claims

  brought under the TILA. Cf. Val-Com Acquisitions Tr. v. CitiMortgage, Inc., No. 4:10-

  CV-390-Y, 2010 WL 11619589, at *2 (N.D. Tex. Dec. 16, 2010) (granting summary

  judgment where transaction documents established that debtor intended to take loan

  for investment purposes).

  C.     Plaintiffs’ claim for breach of contract relating to Texas Property Code
         § 51.002(b)(3) fails in the absence of evidence of a breach.

         Plaintiffs also advance a breach-of-contract claim against Defendant for failure

  to provide notice of foreclosure as required by Texas Property Code § 51.002(b) and

  (d). (Dkt. No. 1-3 at 13-14.) Defendant moves for summary judgment on the basis

  that the evidence establishes that Defendant complied with the notice provisions of

  the deed of trust. (Br. at 11.)


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         Under Texas law, a plaintiff alleging breach of contract must prove “(1) a valid

  contract existed between the plaintiff and defendant; (2) the plaintiff tendered

  performance or was excused from doing so; (3) the defendant breached the terms of

  the contract; and (4) the plaintiff sustained damages as a result of the defendant’s

  breach.” Sankaran v. VFS Servs. (USA) Inc., 693 S.W.3d 883, 892 (Tex. App.—

  Houston [14th Dist.] 2024, no pet. h.) (citing Pathfinder Oil & Gas, Inc. v. Great W.

  Drilling, Ltd., 574 S.W.3d 882, 890 (Tex. 2019)).

         Defendant argues that it is entitled to summary judgment because there is no

  evidence that it breached any duties under the deed of trust or statute. Defendant

  adduces evidence that, pursuant to the deed of trust, it provided Celestine notice of

  acceleration of the loan and foreclosure. (App. 33, 35.) 4 Plaintiffs have provided no

  evidence establishing a disputed fact issue with respect to Defendant’s notice. Based

  of the lack of evidence from which a fact finder could find that Defendant breached a

  duty under the agreement to provide notice of acceleration and foreclosure,

  Defendant is entitled to judgment as a matter of law on this claim.

  D.     Plaintiffs’ claim for breach of contract for failure to provide an accounting
         fails in the absence of evidence establishing a duty or breach.

         Plaintiffs’ fourth cause of action asserts breach of contract based on

  Defendant’s failure to account for Plaintiffs’ payments as required in the mortgage

  agreement. (Dkt. No. 1-3 at 14-15.) Defendant moves for summary judgment on the


         4
          With respect to acceleration, the undersigned observes that the notices of default
  were sent in October 2023, after the loan had matured by its terms. (See App. 10, 33.)


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  basis that the agreement does not establish a duty requiring Defendant to provide an

  accounting and there is no evidence of a breach in that manner.

        Plaintiffs’ complaint provides only conclusory allegations—it does not specify

  the manner in which Defendant was obligated to account for any payments under

  the lending agreement, does not clearly allege that Plaintiffs made payments that

  should have been accounted for in a certain manner, and fails to specify how

  Defendant actually allotted any payments in violation of the agreements. “Mere

  conclusory allegations are not competent summary judgment evidence, and thus are

  insufficient to defeat a motion for summary judgment.” Bratcher v. AmeriHome

  Mortgage Co., LLC, No. 3:23-CV-838-L, 2024 WL 5080250, at *4 (N.D. Tex. Dec. 10,

  2024) (citing Eason v. Thaler, 73 F.3d 1322, 1325 (5th Cir. 1996)). Because Defendant

  has pointed to the absence of evidence, it is incumbent upon Plaintiffs at this stage to

  “identify specific evidence in the record and to articulate the precise manner in which

  that evidence supports his or her claim.” Id. Because Plaintiffs cannot rely on their

  unverified complaint and do not respond to the summary judgment motion, they

  have not adduced any evidence sufficient to show that Defendant had a duty under

  the agreements to account for payments in a particular way or breached such duty in

  the manner in which it actually accounted for any payments. Defendant therefore is

  entitled to judgment as a matter of law on that claim.




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  E.        Because Plaintiffs’ substantive claims fail, so too does their request for
            injunctive relief.

            Defendant moves for summary judgment on Plaintiffs’ requests for injunctive

  relief on the basis that none of the substantive claims withstand summary judgment.

  Plaintiffs’ request for a temporary restraining order and injunction is not a

  standalone or independent cause of action. See Ruiz v. Bank of Am., N.A., No. 3:18-

  CV-2707-L, 2020 WL 2101299, at *11 (N.D. Tex. Apr. 30, 2020). Having concluded

  that Defendant is entitled to judgment as a matter of law on Plaintiffs’ substantive

  claims, Plaintiffs cannot satisfy the requirements for injunctive relief. The

  undersigned therefore recommends that the District Judge deny Plaintiffs’ request for

  that relief.

                                     IV. CONCLUSION

            For the foregoing reasons, the undersigned magistrate judge recommends that

  the District Judge GRANT Defendant’s motion for summary judgment (Dkt. No. 4),

  dismiss Plaintiffs’ claims with prejudice, and deny Plaintiffs’ request for injunctive

  relief.

            SO RECOMMENDED on December 23, 2024.




                                             BRIAN McKAY
                                             UNITED STATES MAGISTRATE JUDGE




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                       INSTRUCTIONS FOR SERVICE AND
                     NOTICE OF RIGHT TO APPEAL/OBJECT

  A copy of this report and recommendation will be served on all parties in the manner
  provided by law. Any party who objects to any part of this report and recommendation
  must file specific written objections within 14 days after being served with a copy. See
  28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b). To be specific, an objection must identify
  the finding or recommendation to which objection is made, state the basis for the
  objection, and indicate the place in the magistrate judge’s report and recommendation
  where the disputed determination is found. An objection that merely incorporates by
  reference or refers to the briefing before the magistrate judge is not specific. Failure to
  file specific written objections will bar the aggrieved party from appealing the factual
  findings and legal conclusions of the magistrate judge that are accepted or adopted by
  the district court, except upon grounds of plain error. See Douglass v. United Services
  Automobile Ass’n, 79 F.3d 1415, 1417 (5th Cir. 1996), modified by statute on other
  grounds, 28 U.S.C. § 636(b)(1) (extending the time to file objections to 14 days).




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